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                             UNITED STATES DISTRICT COURT

                               MIDDLE DISTRICT OF FLORIDA

                                      ORLANDO FLORIDA

 CHERYL OWENS,                                     CASE NO.: 6:18-cv-00070-ACC-KRS
                Plaintiff,
 v.                                                NOTICE OF SETTLEMENT


 COMENITY BANK,
                Defendant.


               PLEASE TAKE NOTICE that Plaintiff CHERYL OWENS and Defendant
COMENITY BANK, have reached a settlement. The parties anticipate that they will
complete the settlement, and file a stipulation of dismissal with prejudice, within 45
days from the date of this notice.

               In light of the settlement, the parties respectfully request that the Court take
off calendar all future hearing dates in this case.



 Dated: October 5, 2018                             s/ David J. Kaminski
                                                    David J. Kaminski
                                                    Pro Hac Vice
                                                    CA SBN 128509
                                                    CARLSON & MESSER LLP
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                                                    Los Angeles, California 90045
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                                                    COMENITY BANK


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                                 CERTIFICATE OF SERVICE


               I, David J. Kaminski, hereby certify that on this 5th day of October, 2018, a

true and accurate copy of the foregoing Notice of Settlement were served via the

District Court ECF System on the Following:


               Email: TGomez@ForThePeople.com

                                                         /s/David J. Kaminski
                                                         David J. Kaminski
                                                         CARLSON & MESSER LLP




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